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                            Exhibit 5
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    1               UNITED STATES DISTRICT COURT

    2           FOR THE NORTHERN DISTRICT OF OHIO

    3                       EASTERN DIVISION

    4                             -   -   -

    5    IN RE: NATIONAL PRESCRIPTION

    6    OPIATE LITIGATION                      Case No.

    7                                           1:17-MD-2804

    8    APPLIES TO ALL CASES                   Hon. Dan A.

    9                                           Polster

  10     Case No. 1:17-MD-2804

  11                              -   -   -

  12                        January 17, 2019

  13        HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER

  14                    CONFIDENTIALITY REVIEW

  15                    Videotaped deposition of

  16     DOUGLAS BOOTHE, held at 250 Hudson Street,

  17     New York, New York, commencing at 9:00 a.m.,

  18     on the above date, before Marie Foley, a

  19     Registered Merit Reporter, Certified

  20     Realtime Reporter and Notary Public.

  21                              -   -   -

  22                    GOLKOW LITIGATION SERVICES

  23               877.370.3377 ph | 917.591.5672 fax

  24                         Deps@golkow.com

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    1          form; argumentative; asked and

    2          answered.

    3          A.      Again, a financial evaluation

    4     could be some set of potential revenues,

    5     costs, some sort of a P&L, some sort of an

    6     MPV.    There's all sorts of different

    7     models.    They could be product specific.

    8     They could be class specific.          They could

    9     be region specific.        I don't know what --

  10      inputs could be GDP growth.          There's all

  11      sorts of things that could go into a

  12      financial evaluation.        It could be some

  13      sort of a model.       There could be scenarios

  14      on it.

  15                   But I -- you asked me

  16      specifically about what Ms. McCormick, and

  17      I just asked if you could show me an

  18      example, I could comment on it.

  19           Q.      Did you review marketing

  20      forecasts for pipeline products?

  21                   MS. WELCH:     Objection to form.

  22           A.      Yes.

  23           Q.      Did you review sales projections

  24      for products, including opioids?

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    1                  MS. WELCH:     Objection to form.

    2          A.      Yes.

    3          Q.      You reviewed annual budget and

    4     three-year plan processes?

    5          A.      Yes.

    6          Q.      Did you have to approve

    7     marketing expenses?

    8                  MS. WELCH:     Objection to form.

    9          A.      No.    I mean, certainly to a

  10      certain level of authorization.           So

  11      certainly we had a delegation of

  12      authority.     We had an authorization

  13      process.     Certain levels of expenses could

  14      be approved depending on your -- your --

  15      your authority level, at a director level

  16      or at a manager level, at a VP level or at

  17      a senior VP level and ultimately to me.

  18                   So, depending on the amount of

  19      the expense, either my team would do them

  20      or I would do them.

  21           Q.      Are you aware of what marketing

  22      tools were used by Actavis to drive sales

  23      of its generic drugs, including opioids,

  24      while you were at the company?

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    1                  MS. WELCH:     Objection to form.

    2          A.      What do you mean by marketing

    3     tools?

    4          Q.      Do you have a general

    5     understanding of what a marketing tool is?

    6          A.      I'd be happy if you provided

    7     some, I could comment if I thought that

    8     was a marketing tool or not.

    9                  I mean, generic drugs generally

  10      don't do a lot of marketing.

  11           Q.      Actavis did have a generics

  12      marketing department; did it not?

  13           A.      Yes.

  14           Q.      And, did that department have

  15      work to do?

  16           A.      Yes.

  17           Q.      And, what are the marketing

  18      mechanisms that the company used to market

  19      its generic drugs?

  20                   MS. WELCH:     Objection to form.

  21           A.      Again, the marketing department

  22      predominantly did forecasting.           So, the

  23      marketing team, as Ms. McCormick led,

  24      would look at the marketing information

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    1     provided by third parties such as IMS,

    2     look at script datas, and then would look

    3     at -- that would help to inform from a

    4     trend perspective what the available

    5     scripts would be.

    6                  The marketing team also was

    7     involved in prelaunch activities.           So the

    8     extent of which when we were putting a

    9     product to market, we would have to make

  10      certain that it was registered and that we

  11      had labeling for it, that we actually

  12      participated in trade events, that we

  13      sometimes we would put an advertisement,

  14      or form of an announcement.          Really not

  15      advertisement.      Announcement that products

  16      were available.       We had a product catalog

  17      that was available in both hard copy and

  18      electronic.

  19                   But the bulk of the marketing

  20      team, and I'm using quotes for marketing

  21      'cause most of the activity that the

  22      marketing activity does in a generic drug,

  23      it's not unique to Actavis, is mostly

  24      product forecasting and then working very

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